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                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


  Samuel Burningham,                               Case No.

         Plaintiff,
                                                   COMPLAINT
                                                   [JURY TRIAL DEMANDED]
         v.

 Old Navy, LLC,
 d.b.a. Old Navy #3794,

         Defendant.




       Plaintiff, Samuel Burningham, by and through his attorney, hereby alleges, complains, and

seeks his attorneys’ fees as follows:

                                         NATURE OF CASE

1. This civil Action is brought pursuant to the Americans with Disabilities Act, 42 U.S.C. §-

   12101 et. seq., and its implementing regulations (the, “ADA”) for declaratory judgment,

   injunctive relief, attorneys’ fees and costs.

                                               PARTIES

2. Plaintiff, Samuel Burningham, is a natural person who resides in Spanish Fork, UT. Plaintiff

    has a disability which substantially limits major life activities. Plaintiff requires the use of a

    wheelchair.
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3. Defendant owns and/or operates a Place of Public Accommodation (“PPA”) as that term is

   defined in 42 U.S.C. § 12181(7) located at 678 West Main St, Suite 200, American Fork, UT

   84003.

4. Upon information and belief, Defendant’s PPA was designed and constructed for first

   occupancy after January 26, 1993 or altered in a way that affects or could affect the usability

   of the building or facility or any part thereof by Plaintiff.

5. On the date of the visit to Defendant’s PPA, Plaintiff was a resident of the State of Utah.

6. Plaintiff travels throughout Utah including, in particular, the communities in and surrounding

   Salt Lake City, Utah.

                                   JURISDICTION AND VENUE

7. This Action arises from a violation of ADA Title III regulations. This Court has original

   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12188.

8. Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c) in that this is the

   judicial district in which a substantial part of the acts and omissions giving rise to the claims

   occurred.

                                           STANDING

9. Plaintiff seeks both retrospective declaratory relief (that Defendant has violated and continues

   to violate Title III of the ADA) and prospective injunctive relief all as more fully stated below.

10. Plaintiff has a disability which substantially limits major life activities. Plaintiff requires the

   use of a wheelchair. At the time of Plaintiff’s visit to Defendant’s PPA, Plaintiff qualified for

   and required reasonable accommodations to access and use the PPA.

11. Plaintiff personally visited Defendant’s PPA, but was denied full and equal access and full

   and equal enjoyment of the facilities, services, goods and amenities.




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12. Plaintiff is a customer of Defendant and visited Defendant’s PPA on or about February 20,

   2017 to enjoy the goods and services offered at the PPA. Defendant offers goods and services

   at its PPA without restriction to members of the public who do not suffer from a physical

   disability.

13. Plaintiff will avail himself of the goods and services offered at the PPA in the future provided

   that Defendant modify the PPA to accommodate individuals with disabilities.

14. Completely independent of Plaintiff’s personal desire to access the PPA, Plaintiff also acted

   as a tester for purposes of discovering, encountering, and engaging discrimination against

   persons with disabilities at Defendant’s PPA. Plaintiff intends to visit the PPA regularly to

   verify compliance or non-compliance with the ADA. In the instances referenced herein,

   Plaintiff, in his individual capacity and as a tester; visited the Premises; encountered barriers

   to access at the PPA; engaged and tested those barriers; and suffered legal harm and legal

   injury and he will continue to suffer harm and injury as a result of the illegal barriers to access

   and the violations of Defendant set forth herein. Without judicial intervention, Plaintiff will

   suffer a real and imminent threat of encountering Defendant’s accessibility barriers in the near

   future.

15. With respect to prospective relief, Plaintiff alleges that Plaintiff is suffering a continuing

   injury or is under a real and immediate threat of being injured in the future all as more fully

   developed below.

16. Plaintiff avers that Plaintiff intends to visit Defendant’s PPA several times per year in the near

   future, but is deterred from doing so while Defendant’s PPA violates the ADA as detailed

   below.




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17. Plaintiff further avers that Plaintiff is deterred from visiting the Defendant’s PPA due to the

   accessibility barriers at Defendant’s PPA as detailed below.

18. Plaintiff further avers that any voluntary cessation of Defendant’s non-compliance with the

   ADA may be readily reversed by the reinstatement of the barriers to individuals with

   disabilities. Therefore, injunctive relief should be issued irrespective of Defendant’s potential

   voluntary cessation.

                 THE ADA AND ITS IMPLEMENTING REGULATIONS

19. On July 26, 1990, President George H.W. Bush signed into law the ADA, a comprehensive

   civil rights law prohibiting discrimination on the basis of disability.

20. The ADA broadly protects the rights of individuals with disabilities in employment, access to

   State and local government services, places of public accommodation, transportation and

   other important areas of American life.

21. ADA Title III Regulations prohibit discrimination in the activities of places of public

   accommodation (“PPAs”) and requires PPAs to be readily accessible to, and independently

   usable by, individuals with disabilities. 42 U.S.C. §§ 12181-89, 36 C.F.R. Part 1191.

22. On July 26, 1991, the Department of Justice (“DOJ”) issued rules implementing Title III of

   the ADA, which are codified at 28 C.F.R Part 36.

23. Appendix A of the 1991 ADA Title III Regulations (republished as Appendices B and D to

   36 C.F.R. Part 1191, and 28 C.F.R. Part 36) contains the ADA standards for Accessible

   Design (1991 Standards), which were based upon the Americans with Disabilities Act

   Accessibility Guidelines (1991 ADAAG) published by the Access Board on the same date.




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24. In 1994, the Access Board began the process of updating the 1991 ADAAG by establishing a

   committee composed of members of the design and construction industries, the building code

   community, and State and local governmental entities, as well as individuals with disabilities.

25. In 1999, based largely on the report and recommendations of the advisory committee, the

   Access Board issued a notice of proposed rulemaking to update and revise its ADA and ABA

   Accessibility Guidelines.

26. The Access Board issued final publication of revisions to the 1991 ADAAG on July 23, 2004

   (“2004 ADAAG”).

27. On September 30, 2004, the DOJ issued an advanced notice of proposed rulemaking to begin

   the process of adopting the 2004 ADAAG.

28. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering Title III of

   the ADA.

29. The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ’s issuance of

   The 2010 Standards for Accessible Design (“2010 Standards”). The DOJ published the Final

   Rule detailing the 2010 Standards on September 15, 2010. The 2010 Standards consist of the

   2004 ADAAG and the requirements contained in Appendices B and D to 36 C.F.R. Part 1191,

   and subpart D of 28 C.F.R. Part 36.

30. 42 U.S.C. § 12182(a) provides that “No individual shall be discriminated against on the basis

   of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

   advantages, or accommodations of any place of public accommodation by any person who

   owns, leases (or leases to), or operates a place of public accommodation.”

31. The ADA also provides a private right of action for preventative relief, including an

   application for a permanent or temporary injunction or restraining order for “any person who




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   is being subjected to discrimination on the basis of disability in violation of Title III.” 28

   C.F.R. § 36.501.

32. The duty of compliance with the ADA is not delegable.

               FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

33. On or about February 20, 2017, Plaintiff visited Defendant’s PPA.

34. Plaintiff was prevented from the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of Defendant’s PPA due to Defendant’s violation

   of the ADA and its accompanying Accessibility Guidelines and is discriminating against

   Plaintiff as a result of specific violations including but not limited to the following:



       a. Failure to provide signs containing the designation "van accessible" that identify van

           parking spaces as required by 36 CFR § 1191 App. D Guideline 502.6;

       b. Failure to insulate or otherwise configure water supply and drain pipes under sinks to

           protect against contact as required by 36 CFR § 1191 App. D Guideline 606.5.



35. In addition to the precise difficulties experienced by Plaintiff on the date he attempted to

   access Defendant’s PPA, under the ADA, the existence of architectural barriers alone, when

   removal is readily achievable, constitutes discrimination. 42 U.S.C. § 12181(2)(A).

36. Having been deterred from equal enjoyment of Defendant’s PPA, Plaintiff has not conducted

   a complete review of Defendant’s PPA; however, Plaintiff shall seek to amend the Complaint

   to allege additional ADA violations upon the completion of discovery and disclosure process.

   Since most barriers involve measurement of inches or degrees, to identify all architectural

   barriers requires a person to have unfettered access to a property with tools such as a tape




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   measure, inclinator and note pad. Plaintiff therefore, requires an on-site inspection including

   the entry on Defendant’s PPA to gather additional evidence pursuant to Rule 34 of the Federal

   Rules of Civil Procedure to provide a comprehensive list of all barriers which existed on or

   before the date of this Complaint.

37. Defendant has discriminated against Plaintiff and others in that it has failed to make its PPA

   fully accessible to, and independently usable by, individuals who are disabled in violation of

   the ADA.

38. Defendant has discriminated against Plaintiff in that it has failed to remove architectural

   barriers to make its PPA fully accessible to, and independently usable by, individuals who are

   disabled.

39. Defendant’s conduct is ongoing. Plaintiff invokes the statutory right to declaratory and

   injunctive relief, as well as costs, expenses and attorneys’ fees. See 28 U.S.C. §§ 2201, 2202,

   28 C.F.R. 36.501.

                    COUNT ONE: VIOLATION OF TITLE III OF ADA

40. Plaintiff adopts and re-alleges the allegations stated in the preceding paragraphs as fully

   stated herein.

41. 42 U.S.C. § 12182(a) prohibits discrimination “on the basis of disability in the full and equal

   enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any

   place of public accommodation by any person who owns, leases (or lease to); or operates a

   place of public accommodation.”

42. 42 U.S.C. § 12188(a) provides for a private cause of action against such discrimination.

43. The mobility impairment at issue constitutes a disability under 42 U.S.C. § 12102.




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44. Plaintiff was prevented from the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of Defendant’s PPA due to Defendant’s violation

   of the ADA and Defendant’s architectural barriers at its PPA constitute discrimination against

   Plaintiff.

45. Removal of the Defendant’s architectural barriers is readily achievable, or Defendant may

   make their facilities available through alternative methods that are readily achievable.

46. Defendant was required to make the PPA accessible to persons with disabilities. As of the

   dates discussed herein, Defendant has failed to comply with the mandates of the ADA.

47. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant Plaintiff’s

   request for injunctive relief including an order to alter the PPA to make it readily accessible

   to, and useable by, individuals with disabilities to the extent required by the ADA, and closing

   the PPA until the requisite modifications are completed.

                                             RELIEF

48. With respect to prospective relief, Plaintiff alleges that Plaintiff is suffering a continuing

   injury or is under a real and immediate threat of being injured in the future all as more fully

   developed below.

49. Plaintiff avers that Plaintiff intends to visit Defendant’s PPA several times per year in the near

   future, but is deterred from doing so while Defendant’s PPA violates the ADA as detailed

   below.

50. Plaintiff further avers that Plaintiff is deterred from visiting the Defendant’s PPA due to the

   accessibility barriers at Defendant’s PPA as detailed below.

51. Plaintiff further avers that any voluntary cessation of Defendant’s non-compliance with the

   ADA may be readily reversed by the reinstatement of the barriers to individuals with




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     disabilities. Therefore, injunctive relief should be issued irrespective of Defendant’s potential

     voluntary cessation.



WHEREFORE, Plaintiff requests judgment against Defendant as follows:

A. A declaration that Plaintiff has a federally protected right to the full and equal enjoyment of

    the goods, services, facilities, privileges, advantages, or accommodations of Defendant’s PPA,

    whether alleged in this Complaint or subsequently discovered; and

B. A declaration that at the commencement of this Action Defendant was in violation of the

    specific requirements of the ADA described above; and

C. Irrespective of Defendant’s “voluntary cessation,” if applicable, a preliminary and permanent

    injunction requiring Defendant to remove all barriers so that Plaintiff shall have the full and

    equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

    of Defendant’s PPA; and

D. An Order requiring Defendant to alter its PPA that is the subject of this Complaint to make the

    PPA accessible to and usable by individuals with disabilities to the full extent required by the

    ADA; and

E. An award of attorneys’ fees, including litigation expenses, and costs, pursuant to 42 U.S.C. §

    12205, 28 C.F.R. § 36.505, and other principles of law and equity and in compliance with the

    “prevailing party” and “material alteration” of the parties’ relationship doctrines.



                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

jury trial on issues triable by a jury.




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    RESPECTFULLY SUBMITTED this July 27, 2017.


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